      Case 2:94-cr-00381-ILRL-MBN Document 2466 Filed 03/22/18 Page 1 of 13



                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                   CRIMINAL ACTION

VERSUS                                                     NO. 94-381

LEN DAVIS AND PAUL HARDY                                   SECTION "B”


                                  ORDER AND REASONS

         NATURE OF MOTIONS AND RELIEF SOUGHT

        On September 1, 2017 this Court ordered Petitioners Len Davis

and      Paul      Hardy      (collectively,       “Petitioners”)       to     file

supplemental memoranda            regarding   which   of   their    §2255    claims

might require evidentiary              hearing   (Rec.     Doc.    2449).    Before

the      Court     is      petitioner    Hardy’s    “Supplemental      Memorandum

Regarding Evidentiary Claims” (Rec. Doc. 2462), petitioner Davis’

“Memorandum in Support of             Granting   Evidentiary      Hearing”    (Rec.

Doc.     2463”),    and     the    Government’s “Response to Paul Hardy’s

and     Len   Davis’s      Requests    for Evidentiary Hearing” (Rec. Doc.

2465). For the reasons outlined below,

        IT IS ORDERED that Petitioners’ requests for evidentiary

hearing is DENIED.

        In conjunction with their § 2255 motions, Petitioners seek

evidentiary hearing on particular claims therein. 28 U.S.C. § 2255

provides that:

        [u]nless the motion and the files and records of the
        case conclusively show that the prisoner is entitled to
        no relief, the court shall cause notice thereof to be

                                          1
   Case 2:94-cr-00381-ILRL-MBN Document 2466 Filed 03/22/18 Page 2 of 13



     served upon the United States attorney, grant a prompt
     hearing thereon, determine the issues and make findings
     of fact and conclusions of law with respect thereto.
28 U.S.C.A. § 2255 (2008).

       However, where the motion, files, and records of the case

conclusively show that the prisoner is entitled to no relief, the

Court may deny a §2255 motion without an evidentiary hearing. U.S.

v. Auten, 632 F.2d 478 (5th Cir.1980). A district court’s denial

of an evidentiary hearing on a § 2255 is reviewed for abuse of

discretion. See United States v. Bartholomew, 974 F.2d 39, 41 (5th

Cir. 1992). To establish an “abuse of discretion,” Petitioners

must     present    “independent     indicia          of     the    likely      merit     of

allegations.” United States v. Cavitt, 550 F.3d 430, 442 (5th Cir.

2008).

       To be discussed, infra, Petitioners fail to meet their burden

of presenting “independent indicia” of the likely merit of their

claims. Even after this Court allowed for additional exchange of

discovery (Rec. Doc. 2249), Petitioners present no new facts or

evidence    in     support   of    their       conclusory         claims.      Petitioners’

mere     recitation    of    incredible         conclusions         does       not   warrant

evidentiary      hearing,    and    this       issue       will    be   “heard”      on   the

briefing    already    submitted to the Court. See United States v.

McGill, 11 F.3d 223, 225           (1st        Cir.    1993)(“In        most    situations,

motions can be “heard” effectively on the papers, with the parties

submitting evidentiary proffers by means of affidavits, documentary


                                           2
      Case 2:94-cr-00381-ILRL-MBN Document 2466 Filed 03/22/18 Page 3 of 13



exhibits, and the like.”).

        Also    before          the     Court      is       Len    Davis’    “Motion        to    Vacate

under     28 U.S.C.          § 2255” (Rec.                  Doc. 2265),          the “Government’s

Response       to        Guilt Related Issues Under 28 U.S.C. § 2255 for

Collateral Relief” (Rec. Doc. 2265), Paul Hardy’s “First Motion

to    Vacate        Under       28    U.S.C. § 2255” (Rec. Doc. 2378), and the

“Government’s             Opposition         to     Hardy’s             Motion     for      Collateral

Relief Under 28 U.S.C § 2255” (Rec. Doc. 2378). For the reasons

mentioned below,

        IT    IS     FURTHER          ORDERED      that          Petitioners      claims      are

DISMISSED, along with all other pending motions.



FACTS AND PROCEDURAL HISTORY

        The Third Superseding Indictment charged Len Davis and Paul

Hardy        with    offenses           relating            to    the    murder       of   Kim     Marie

Groves       (Rec.        Doc.       187).   The    first          count    charged        petitioners

with a conspiracy to violate Groves’ constitutionally protected

right to liberty by the use of excessive force, while acting under

the color of the law, which resulted in her death (Rec. Doc. 187).

The     second           count         alleged              that        petitioners’             actions

substantively              constituted          the         deprivation          of    rights      under

the    color        of    law    pursuant to 18 U.S.C § 242 (Rec. Doc. 187).

The     third       and     final       count       of       the    indictment         alleged      that

petitioners willfully killed Groves to prevent communication to

law enforcement of a possible federal crime (Rec. Doc. 187).
                                                        3
     Case 2:94-cr-00381-ILRL-MBN Document 2466 Filed 03/22/18 Page 4 of 13



A    jury    was   empaneled    and    petitioners’ trial started on April

8,    1996    (Rec.   Doc.     465).   On       April 24, 1996 the jury found

petitioner Davis and petitioner Hardy guilty                 as   to   all   three

counts (Rec. Doc. 524).

       On November 6, 1996 petitioner Davis received concurrent

sentences for all three counts of the Third Superseding Indictment

(Rec. Doc. 631). Davis filed a timely Notice of Appeal and the

Fifth Circuit Court of Appeals affirmed the district court’s

decision as to Count 1 and 2 and reversed and vacated the sentence

as to Count 3 (Rec. Doc. 714). Davis was resentenced to two

concurrent sentences as to Counts 1 and 2 (Rec. Doc. 1530). Davis

filed a timely Notice of Appeal. On September 2, 2010 the Fifth

Circuit affirmed his sentence (Rec. Docs. 1542 and 2165). Davis

timely filed a Petition for a Writ of Certiorari to the Supreme

Court of the United States, which was denied on March 22, 2011

(Rec. Doc. 2205).

        On November 6, 1996 petitioner Hardy received concurrent

sentences on all three counts (Rec. Doc. 630). Petitioner Hardy

filed a timely Notice of Appeal (Rec. Doc. 633). The Fifth Circuit

affirmed his convictions on Counts 1 and 2 but reversed his

conviction on Count 3. The case was remanded to back to the

district court for resentencing (Rec. Doc. 715). In December 2011,

petitioner Hardy was resentenced on Counts 1 and 2 and received

concurrent terms of life imprisonment, 5 years supervised release,

                                            4
     Case 2:94-cr-00381-ILRL-MBN Document 2466 Filed 03/22/18 Page 5 of 13



$3,593.05 restitution, and a $200 Mandatory Special Assessment Fee

(Rec. Doc. 2257). On December 29, 2011 petitioner Hardy timely

filed a Notice of Appeal and on January 3, 2013 the Fifth Circuit

Court of Appeals affirmed his sentences on Counts 1 and 2 (Rec.

Docs. 2259 and 2316). On April 3, 2013 Hardy timely filed a

Petition for a Writ of Certiorari to the Supreme Court of the

United States and on October 9, 2013 it was denied (Rec. Doc.

2342). This Court now reviews petitioners’ application for relief

under 28 U.S.C § 2255.



FACTUAL AND LEGAL FINDINGS

        Petitioners request relief pursuant to 28 U.S.C. § 2255, 1

which allows a prisoner to collaterally attack his or her sentence

post-conviction. “After conviction and exhaustion or waiver of any

right to appeal, [a defendant is presumed to stand] fairly and

finally convicted.” U.S. v. Shaid, 937 F.2d 228, 231-32 (5th Cir.

1991) (citing U.S. v. Frady, 456 U.S. 152, 164 (1982)) (internal

quotations omitted).         As the Fifth Circuit has noted, § 2255 is

“reserved for transgressions of constitutional rights and for that

narrow compass of other injury that could not have been raised on


1   This statute provides that:
        A prisoner in custody under sentence of a court established by Act of
        Congress claiming the right to be released upon the ground that the
        sentence was imposed in violation of the Constitution or laws of the
        United States, or that the court was without jurisdiction to impose such
        sentence, or that the sentence was in excess of the maximum authorized by
        law, or is otherwise subject to collateral attack, may move the court
        which imposed the sentence to vacate, set aside or correct the sentence.

                                         5
     Case 2:94-cr-00381-ILRL-MBN Document 2466 Filed 03/22/18 Page 6 of 13



direct    appeal     and,   would,   if    condoned,         result    in   a    complete

miscarriage of justice.” U.S. v. Capua, 656 F.2d 1033, 1037 (5th

Cir. 1981).

       Thus,   a   defendant    typically           may   only   challenge       a   final

conviction      on    constitutional           or     jurisdictional        issues       in

collateral review. U.S. v. Shaid, 937 F.2d at 232 (citing Hill v.

U.S., 368 U.S. 424, 428 (1962)). Furthermore, “mere conclusory

allegations     on   a   critical    issue      are       insufficient      to   raise   a

constitutional issue.” United States v. Pineda, 988 F.2d 22, 23

(5th Cir. 1993). The Fifth Circuit has explained “absent evidence

in the record, a court cannot consider a habeas petitioner's bald

assertions on a critical issue . . . to be of probative evidentiary

value.” Ross v. Estelle, 694 F.2d 1008, 1011 (5th Cir. 1983).



Petitioners’ Claims

       Petitioner Len Davis’ request for relief is a 278 page motion

that raises issues previously considered and decided by both the

appellate court and this Court. As the government highlights, many

of    petitioner’s       arguments   are       disorganized,          duplicative      and

redundant. When analyzing the petitioner’s claims this Court will

refer to the government’s structure for the sake of clarity.

Additionally, petitioner Paul Hardy’s claims are categorically

similar and will be discussed with petitioner Len Davis’ relevant

claims.

                                           6
     Case 2:94-cr-00381-ILRL-MBN Document 2466 Filed 03/22/18 Page 7 of 13



     1. Issues 1, 8(A), 8(B), and 28

       Davis makes various thematically related claims in these

sections of his motion. Petitioner Davis alleges that prosecutors

and the FBI had prior notice of Ms. Groves’ planned murder but

failed to intervene in an attempt to ensnare more corrupt law

enforcement individuals. Davis alleges that there was suppression

of information about an after-the-fact-report detailing the FBI

monitor’s misinterpretation of phone calls relating to the crime.

Davis also argues that there was additional suppression when the

government first realized the petitioner’s involvement in Grove’s

murder.      Finally    petitioner     argues       that    the   government      only

prosecuted     Davis    to     “compensate”       for    previously    ignoring    his

violent propensities and that there was a conflict of interest.

        As the government clearly explains, these allegations have

no    evidentiary      basis    and   are       merely   Davis’   conclusions      and

speculation. As previously stated, “absent evidence in the record,

a court cannot consider a habeas petitioner's bald assertions on

a critical issue . . . to be of probative evidentiary value.” Id.

None    of    these     claims     constitute        cognizable       constitutional

violations that justify providing the petitioner relief.




                                            7
    Case 2:94-cr-00381-ILRL-MBN Document 2466 Filed 03/22/18 Page 8 of 13



    2. Issues 4, 10, 11(A)(2), 11 (B) (2), 18, 8 (C), 2, 3, 4, and

       20

       Davis makes a number of arguments here and concludes that

the prosecution violated the Equal Protection Clause because he

was targeted and singled out as an African-American man. Davis

argues that prosecution under 18 U.S.C. §§ 241 and 242 can only

apply when a white defendant, acting under color of law, targets

a   victim   because     of   race.     Moreover,     Davis     contends   that      his

convictions      pursuant     to   §§    241   and    242     violated   the      Double

Jeopardy Clause. Davis further argues that the “color of law”

jurisdictional element in §§ 241 and 242 was not met.

        In   addition,    Davis     argues     that    Sammie     Williams     had   an

undisclosed deal with the government and that the indictment was

insufficient      to   support        either    a     death     sentence     or    life

imprisonment. There is no indication that there is any direct or

circumstantial evidence to demonstrate that the petitioner’s Equal

Protection rights were violated nor does the record reflect that

this   was   a   selective     or       racially     motivated    prosecution.       In

addition, petitioner Hardy argues: 1) his counsel did not object

to purportedly faulty jury instructions, 2) his counsel failed to

raise a double jeopardy objection to his prosecution, and that 3)

the indictment was insufficient.

       As the government points out, all of these issues have been

decided against Davis and Hardy by previous court decisions and

                                           8
   Case 2:94-cr-00381-ILRL-MBN Document 2466 Filed 03/22/18 Page 9 of 13



under the law of the case doctrine, this Court is foreclosed from

further review. The Fifth Circuit explains, “the law of the case

doctrine contemplates that an issue of fact or law decided on

appeal may not be reexamined either by the district court on remand

or by the appellate court on a subsequent appeal.” United States

v. Williams, 517 F.3d 801, 806 (5th Cir. 2008) (internal quotations

omitted). Moreover,

     [t]his prohibition covers issues decided both expressly
     and   by  necessary implication,     and  reflects   the
     jurisprudential policy that once an issue is litigated
     and decided, that should be the end of the matter. This
     rule is essential to the orderly administration of
     justice, as it is aimed at preventing obstinate
     litigants from repeatedly reasserting the same arguments
     and at discouraging opportunistic litigants from
     appealing repeatedly in the hope of acquiring a more
     favorable appellate panel.

United States v. Pineiro, 470 F.3d 200, 205 (5th Cir. 2006)

(internal quotations omitted). Davis’ and Hardy’s color of law

arguments have already been adjudicated in two prior proceedings.

United States v. Causey, 185 F.3d 407, 413-416 (5th Cir. 1999);

United States v. Davis, 609 F.3d 663,697 (5th Cir. 2010). Davis’

and Hardy’s double jeopardy argument was raised and rejected by

the Fifth Circuit during a prior proceeding. United States v.

Davis, 609 F.3d 663, 697-698 (5th Cir. 2010); Causey, 185 F.3d at

413-416.

     Additionally, the allegation that Sammie Williams had an

undisclosed deal with the government was addressed at a previous


                                     9
     Case 2:94-cr-00381-ILRL-MBN Document 2466 Filed 03/22/18 Page 10 of 13



evidentiary hearing (Rec. Doc. 910) and dismissed by the Fifth

Circuit Court of Appeals. Davis, 609 F.3d at 696-697. Furthermore,

the law of the case doctrine forecloses the Davis’ and Hardy’s

challenge to the sufficiency of the indictment as prior proceedings

have adjudicated that claim. United States v. Davis, 609 F.3d 663,

697 (5th Cir. 2010); United States v. Hardy, 499 Fed. Appx. 388,

390 (5th Cir. 2012).

     3. Ineffective Assistance of Counsel Claims

       Petitioners     Davis and     Hardy     raise    various    claims     alleging

ineffective assistance of counsel during their respective trials

and multiple appeals. However, a federal inmate cannot assert a

non-constitutional claim on collateral attack if he did not raise

it on appeal. Davis v. United States, 417 U.S. 333, 345-46 n. 15

(1974). Furthermore, unlike direct appeals, motions under § 2255

reach only errors of constitutional or jurisdictional magnitude.

United States v. Capua, 656 F.2d 1033, 1037 (5th Cir. 1981).

       To   obtain     habeas     corpus     relief     based     on     ineffective

assistance      of    counsel     petitioner    must     show     that    counsel’s

performance was deficient and he must establish that prejudice

occurred. Strickland v. Washington, 466 U.S. 668(1984). Under

Strickland, in order to establish prejudice, “it is not enough for

the defendant to show that the errors had some conceivable effect

on    the   outcome    of   the    proceeding     but    the    petitioner      must

demonstrate a “reasonable probability that, but for counsel’s

                                        10
     Case 2:94-cr-00381-ILRL-MBN Document 2466 Filed 03/22/18 Page 11 of 13



unprofessional errors, the result of the proceeding would have

been different.” Strickland, 466 U.S. 668, 693-694(1984).

        As the Fifth Circuit explains, “the likelihood of a different

result must be substantial, not just conceivable.” Clark v. Thaler,

673 F.3d 410, 423 (5th Cir. 2012). When evaluating an ineffective

assistance of counsel claim the Court need not analyze both prongs

of the Strickland standard but may render judgment based solely on

one prong. Motley v. Collins, 18 F.3d 1223, 1226 (5th Cir. 1994).

Neither petitioner Davis nor Hardy proffer any evidence or facts

that    demonstrate       prejudice.    Petitioner    Davis   mentions     various

facts        that   allegedly     demonstrate     ineffective      assistance   of

counsel, such as no videotaping of the crime scene and counsel’s

failure        to     challenge    forensic     evidence.     Petitioner     Hardy

alleges        that     his     trial   counsel      failed   to     conduct    an

independent pretrial investigation, failed to conduct an adequate

cross-examination of witnesses, failed to inform Hardy of the

consequences of pleading guilty, failed to negotiate a favorable

plea agreement, failed to challenge the guidelines calculation and

application, did not sufficiently consult Hardy regarding the

sentencing guidelines, did not object to jury instructions, and

failed to raise multiplicity and constructive amendment issues

regarding the Third Superceding Indictment.

         Davis’ and Hardy’s allegations of ineffective assistance of

counsel are based on contentions that are not supported by the law

or     the    evidence.       Petitioners’    mere   conclusions     about   their

lawyer’s performance is not enough to give rise to a credible
                                         11
     Case 2:94-cr-00381-ILRL-MBN Document 2466 Filed 03/22/18 Page 12 of 13



assertion of a deficiency and they both fail to demonstrate a level

of      prejudice      that      is     required            by     the       Strickland

standard. Furthermore,         the    government       points      out    that     a   plea

agreement      was    never   contemplated.          This    defeats       petitioners'

arguments because as the Fifth Circuit has held “an attorney’s

failure to raise a meritless            argument       cannot       form     the       basis

of     an   ineffective       assistance      of    counsel       claim    because       the

result of the proceeding would not have been different had the

attorney raised the issue.” United                 States    v.    Kimler,    167       F.3d

889,     893   (5th    Cir.    1999).    Petitioners’ arguments regarding

ineffective assistance of counsel are without merit.

     4. Issues 9, 23, 24, 25, and 26

       Petitioner Davis argues that there was juror misconduct and

unchecked bias. However, in order to obtain a new trial for juror

bias, Davis must meet the McDonough Power Equipment test where “a

party must first demonstrate that a juror failed to answer honestly

a material question on voir dire, and then further show that a

correct response would have provided a valid basis for a challenge

for cause.” United States v. Doke, 171 F.3d 240, 246-47 (5th Cir.

1999). Davis failed to demonstrate that any of the jurors were

actually or fundamentally incompetent as required by the Fifth

Circuit. United States v. Soto-Silva, 129 F.3d 340, 343 (5th Cir.

1997). The selective quotes that petitioner Davis cites from the

jury selection transcripts do not give rise to an ineffective

                                         12
  Case 2:94-cr-00381-ILRL-MBN Document 2466 Filed 03/22/18 Page 13 of 13




assistance of counsel claim that warrant a modification of

the petitioner’s sentence. These claims are also without merit.

     Finally, it is worth remembering that in all respects there

is overwhelming record evidence of Petitioners' guilt in a

horrendous federal crime.     There is no factual or constitutional

basis warranting the relief they request.

     New Orleans, Louisiana, this 22nd day of March, 2018.



                                  ___________________________________
                                  SENIOR UNITED STATES DISTRICT JUDGE




                                    13
